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                     UNITED STATES DISTRICT COURT
                                FOR THE
                        DISTRICT OF NEW JERSEY

VAZQUEZ HELDMAN
Jeffrey Heldman, Esq. (013302012)
18 Hook Mountain Road, Suite 201
Pine Brook, New Jersey 07058
P: 973-434-7062
H: jheldman@vazquezfirm.com
Attorneys for Plaintiff
MARMAT NOVELTY, INC.,
                                      Civil Action No.:
           Plaintiff,


               VS.
                                                    COMPLAINT

SEYMOUR COHEN, JMS MARKETING
LLC d/b/a JMS PROMOS and JMS
PROMOS, INC. d/b/a JMS NOVELTY,

           Defendants.

     Plaintiff MARMAT NOVELTY, INC. (''Plaintiff") by way of

Complaint, says as follows:

                         JURISDICTION AND VENUE

      1.   The Plaintiff is a business entity registered under the

laws, and transacting business in, the State of New Jersey, with its

principal place of business in Parsippany, New Jersey.

      2.    Defendant, Seymour Cohen, is a resident of the State of

Vermont.

      3.    Defendant JMS Marketing LLC (doing business as JMS Promos)

is a for profit business entity formed pursuant to the laws of the

State of Vermont, with a designated office address in Ludlow,
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Vermont.

     4.    Defendant JMS Promos, Inc. (doing business as JMS Novelty)

is a for profit corporate entity formed pursuant to the laws of the

State of Vermont, with a designated office address in Ludlow,

Vermont.

     5.    Venue is appropriate in this judicial district under 28

U.S.C. §1332 because the amount in controversy, without interests

and costs, exceeds the sum or value specified in the statute, and

the parties are citizens of different states.

     6.    Further, the events that gave rise to this Complaint

occurred in this district.

                                 PARTIES

     7.    Plaintiff Marmat Novelty, Inc. ("Marmat") is a duly formed

New Jersey business entity engaged in the business of retail candy,

mints and novelty sales, with its offices located at 1259 Route 46,

Parsippany, New Jersey 07954.

     8.    Defendant Seymour Cohen("Cohen") is an individual

residing at 790 Chapman Road, Ludlow, Vermont 05149.

     9.    Defendant JMS Marketing LLC is a registered domestic

limited liability company of the State of Vermont with a designated

office address of 790 Chapman Road, Ludlow, Vermont 05149.

     10. Defendant JMS Marketing LLC also registered the assumed

name of JMS Promos with the State of Vermont.

     11. Defendant JMS Promos, Inc. is a registered domestic


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corporation of the State of Vermont with its principal office located

at 790 Chapman Road, Ludlow, Vermont 05149.

     12. Defendant JMS Promos, Inc. also registered the assumed

name of JNS Novelty with the State of Vermont.

                          GENERAL ALLEGATIONS

     13. On or about January 5, 2004 Plaintiff and Cohen entered

into an agreement (the "Contract") whereby Plaintiff retained Cohen

to perform sales, marketing, and promotion of Plaintiff's business

and products.

     14. The Contract contains a restrictive covenant to not

compete both "during the term of the Agreement and for a two (2) year

period after termination

     15. The Contract contains a liquidated damages clause which

calculates contractual damages at the rate of three times the prior

year's gross billing per customer.

     16. The Contract contains a confidentiality clause which

defines confidential information and proprietary information to

include, but not limited to, "customer lists, supplier lists .

     17. The Contract contains a non-interference clause whereby

Cohen agreed to not "interfere with the Company's relationship with

any of its suppliers, customers or employees."

     18. The Contract contains a clause electing the agreement to

be "interpreted, enforced and construed in accordance with .          . the

laws of the State of New Jersey."


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     19. The Contract automatically renewed for each successive one

year period unless terminated by either party upon ninety days

advance notice.

     20. By the terms of the Contract Cohen was to continue

servicing existing business, solicit new business, and develop

relationships with both existing and new clients.

     21. The parties agreed there were existing clients, referral

clients, and new clients, and all these clients were confidential

information and property of the Plaintiff.

     22. Cohen received commissions for the work he performed and

was paid a percent of the gross profit.

     23. On or about the first week of January 2021, Cohen called

defendant's agent and resigned his position effective immediately,

without giving ninety days advance notice of same.

                      CONTEMPORANEOUS COMPETITION

     24. Subsequent to entering into the Contract with Plaintiff

Cohen registered the corporate entity "JMS Promos, Inc." with the

State of Vermont on or about April 7, 2004.

     25. In addition, on or about June 10, 2004 JMS Promos, Inc.

registered the assumed name of "JMS Novelty" with the State of

Vermont.

      26.   JMS Novelty listed its business description in its

registration as "personalized candy."

      27. Seymour Cohen's residence address is listed as the


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principal office for JMS Promos, Inc., and he is listed as the

President and Registered Agent for this company.

     28. Cohen formed and registered the limited liability company

"JMS Marketing LLC" with the State of Vermont on or about May 1, 2008.

     29.   JMS Marketing LLC listed its business description in its

registration as "sales."

     30. In addition, on or about May 5, 2008 JMS Marketing LLC

registered the assumed name of "JMS Promos" with the State of Vermont.

     31. JMS Promos listed its business description in its

registration as "sale of promotional goods."

     32. Cohen is listed as the sole member of JMS Marketing LLC.

     33. Cohen's residence address is listed as the designated

office address for this company.

      34. On or about April 13, 2021, JMS Marketing LLC registered

as a foreign limited liability company with the State of New Hamshire

with a principal office address of 12 Block Avenue, Unit #57,

Claremont, New Hampshire 03743.

      35. Cohen is listed on the registration paperwork as the

President and registered agent of JMS Marketing LLC.

      36. The email address associated with the state filing is

"info@jmspromos.com".

      37. Plaintiff has continued to hemorrhage its client base from

2004 through to the present time, and, upon information and belief,

the defendants service those clients to enrich themselves.


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                                COUNT 1
                           Breach of Contract

     38. Plaintiff repeats and reiterates each and every allegation

contained in the previous sections of the complaint and make each

a part hereof.

     39. Subsequent to executing the agreement with Plaintiff,

Cohen created multiple business entities with the intention to pass

confidential information, including client and supplier lists.

     40. The confidential information was used to compete with the

Plaintiff.

     41. Defendant JMS Promos, Inc. d/b/a JMS Novelty operated from

2004 to the present and interfered with existing and prospective

clients of Plaintiff.

     42. In addition, JMS Promos, Inc. interfered with Plaintiff's

suppliers.

      43. Defendant JMS Marketing LLC d/b/a JMS Promos operated from

2008 to the present and interfered with existing and prospective

clients of Plaintiff.

      44. In addition, JMS Promos, Inc. interfered with Plaintiff's

suppliers.

      45. Cohen violated his restrictive covenant contemporaneous

to his employment with Plaintiff.

      46. Cohen violated his restrictive covenant after termination

of his employment with Plaintiff.



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      47. Cohen has violated his obligation to refrain from using

or passing to others to use confidential and proprietary information.

      48. Cohen has violated the non-interference provision of the

Contract.

      49. The actions and conduct of Defendants constitute a breach

of contract.

      50. As a result of Defendants' breach, Plaintiff has suffered

damages.

      WHEREFORE the Plaintiff demands judgment against the Defendant

as follows:

           a) Injunctive relief ordering Cohen, JMS Promos, Inc.
              and/or JMS Marketing LLC to cease and desist the use of
              confidential and proprietary information gleaned from
              Plaintiff;
           b) Enforcing the covenant not to compete as to Cohen;
           c) Enforcing the non-interference covenant as to Cohen;
           d) Compensatory damages, trebled;
           e) Incidental damages;
           f) Consequential damages;
           g) Restitution;
           h) Attorney fees;
           i) Interest;
           j) Costs of suit; and
           k) Any other relief that this Court deems equitable and
              just.

                               COUNT 2
    Breach of the Implied Covenant of Good Faith and Fair Dealing

       51. Plaintiff repeats and reiterates each and every allegation

contained in the previous sections of the complaint and make each

a part hereof.

       52. The aforementioned actions of the Defendant constitute a



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breach of the implied covenant of good-faith and fair dealing.

     WHEREFORE the Plaintiff demands judgment against the Defendant

as follows:

          a) Compensatory damages;
          b) Incidental damages;
          c) Consequential damages;
          d) Restitution;
          e) Attorney fees;
          f) Interest;
          g) Costs of suit; and
          h) Any other relief that this Court deems equitable and
             just.

                                COUNT 3
                           Unjust Enrichment

     53. Plaintiff repeats and reiterates each and every allegation

contained in the previous sections of the complaint and make each

a part hereof.

     54. The defendant entities used stolen confidential

information to build its customer base to the detriment of Plaintiff.

     55. The defendants illicitly service the Plaintiffs clients

to enrich themselves.

      56. In addition, Talbot Funeral Parlor issued a check in

payment of Plaintiff's invoice, in the amount of $409.74, but Cohen

intercepted the check and deposited to his or one of the defendant

business entities' bank account to enrich himself.

      57. As a direct and proximate result of the foregoing,

Defendants have been unjustly enriched and Plaintiff has been

severely damaged.



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     WHEREFORE the Plaintiff demands judgment against the Defendant

as follows:

         a) Compensatory damages;
         b) Incidental damages;
         c) Consequential damages;
         d) Restitution;
         e) Attorney fees;
         f) Interest;
         g) Costs of suit; and
         h) Any other relief that this Court deems equitable and
            just.


                                 COUNT 4
               Negotiable Instrument Forged or Stolen

     58. Plaintiff repeats and reiterates each and every allegation

contained in the previous sections of the complaint and make each

a part hereof.

     59. Cohen and/or his business entities endorsed and negotiated

a payment which was meant for Plaintiff.

     60. Plaintiff has been damaged by this act.

     WHEREFORE the Plaintiff demands judgment against the Defendant

as follows:

          a) Compensatory damages;
          b) Incidental damages;
          c) Consequential damages;
          d) Restitution;
          e) Attorney fees;
          f) Interest;
          g) Costs of suit; and
          h) Any other relief that this Court deems equitable and
             just.




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                                          VAZQUE/) HELDMN


                                    By:
                                          JEFF ' EL AN, ESQ.
 Dated: September 7, 2021                 Atto!riey f r Plaintiff




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